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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                              CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

               Debtor                                         CHAPTER 11



               URGENT MOTION REQUESTING DISQUALIFICATION OF
                VOTE FILED BY LOGISTIC SYSTEMS, INC. PURSUANT
                     TO 11 U.S.C. 1126(e) AND 11 U.S.C. 1126(c)


        TO THE HONORABLE COURT:

               COMES NOW Debtor through its undersigned counsel and very respectfully

        states and prays:

               1.     On March 15, 2018 Logistic Systems, Inc. (“Logistics”) delivered to

        Debtor a ballot in the amount of $5,167,601.86 rejecting Debtor’s Plan of

        Reorganization (the “Plan”).

               2.     The hearing for the final approval of Debtor’s disclosure statement

        and the confirmation of the Plan is scheduled for March 26, 2018 at 2:00PM.

               3.     Debtor hereby requests that the ballot submitted by Logistics be

        disqualified pursuant to 11 U.S.C. 1126(e) and 11 U.S.C. 1126(c).

               4.     The ballot submitted by Logistics was made in bad faith and it

        should be disqualified. Logistics is a creditor who has a very litigious history with

        Debtor. It is a creditor that has held a grudge against Debtor due to its inability

        to collect the amounts now owed.
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                5.    Logistics was the main cause for Debtor's bankruptcy filing. Since

        the filing of the bankruptcy petition Debtor has been defending itself from all the

        collateral attacks that Logistics has placed on its reorganization. The record of

        the case clearly demonstrate that this case has been plagued by numerous

        attempts by Logistics to thwart the reorganization of the Debtor.

                PRE-PETITION HISTORY

                6.    During the years 2009 through 2011, Debtor signed four contracts

        to obtain the software product and licenses from Logistics. The software was for

        a Computer Aided Dispatch (CAD), the end user was the Government of Puerto

        Rico.

                7.    The first contract was signed on December 31, 2009, for the CAD of

        the Emergency Management System of Puerto Rico. Logistics had represented to

        the Government of Puerto Rico and to Debtor a product that would have certain

        functionalities, especially in the record management system, where the

        government needed the latest in functionality to store the case records for many

        purposes, including managing the cases and keeping the stored data for statistics

        and other purposes. It was supposed to work at 78 municipal emergency

        management offices. When the product was installed, the software lacked many

        of the expected capabilities. In addition, there was no Record Management

        System (RMS) actually working. The implementation of the product was

        significantly delayed, even though Debtor had paid millions of dollars to Logistics

        for this product.
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               8.     Since Debtor has had a long relationship with the government and

        wanted to protect that, Debtor spent two (2) years, from 2012 to 2014,

        programing an RMS system and integrating the communications of this product.

        The contract with Logistics provided that licenses on Logistics’ product would

        commenced in June of 2012. Logistics, knowing the implementation was very

        delayed, and that Debtor was doing all the work, did not bill these licenses for two

        years (2012 to 2014), while Debtor was working in good faith to resolve the

        implementation problem. When the problem was resolved in 2014, and Debtor

        was ready to finally start paying the license to Logistics, after having incurred

        significant time and effort to make the project successful, Logistics decided to bill

        the license retroactively to June 2012. The 2012 and 2013 licenses were billed in

        April of 2014.

               9.     When Debtor realized Logistics’ attitude of not assuming

        responsibility for a computer program that was not working, and of trying to bill

        licenses retroactively when Debtor had solved the problem during those two

        years, Debtor decided to sue Logistics in late 2014 to recover the costs incurred

        by Debtor to make this software work.

               10.    The contracts with Logistics provided for Debtor to pay them based

        on certain deliverables of the software programs on the computers, but not the

        implementation and the making of the programs to work as such. In addition,

        Debtor was making payments in good faith to Logistics, as Debtor received

        payments from the Government. For this reason, Debtor ended up paying more
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        than $6 Million to Logistics even though the programs were not working as

        expected and needed significant work from Debtor to make them work.

               11.    At the same time this happened with the first project, Debtor had

        signed an additional three projects with Logistics, in 2010 and 2011, to provide a

        CAD system to municipal law enforcement offices.              These projects were

        significantly delayed, and in 2014, Logistics had not finished or billed the last

        portions of these projects, mostly those related to the RMS. The government put

        these projects on hold and never paid licenses (except for a small payment in one

        of them of $73,000). Notwithstanding this, Logistics still expected Debtor to pay

        for licenses on these other 3 softwares, when the job was not finished and the

        government was not paying Debtor.

               12.    The legal case against Logistics started in late 2014. Debtor sued

        Logistics because it has spent significant time and resources to make these

        software programs work and Logistics was not recognizing this fact, only wanting

        to collect licenses retroactively on the programs that were not working, because

        they lacked certain basic functionalities that the government needed. For two or

        three years, Debtor was manually preparing for the government many of the

        reports they needed in order to make up for the lack of capability of the software

        installed. Debtor spent two years developing a software so that the government

        could be satisfied in its expectations, as represented to both the government and

        Debtor in sales presentations made by Logistics. Logistics countersued to try to

        collect the amounts allegedly owed for the licenses, irrespective of the fact that in
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        those periods the systems did not have the full capability and most of the reports

        were being prepared manually by Debtor.

               13.    Unfortunately, the legal case was badly managed by Debtor’s

        attorneys, who did not meet the deadlines to submit discovery documents and

        the expert witness reports. In May 2017 the judge in the case denied Debtor the

        use of its expert witnesses.     Still, Debtor believed and was advised by its

        attorneys, that it had a very good chance to prevail in this case, since Logistics’

        officers had declared during depositions that the last three contracts were never

        finished.    During late 2017 and early 2018, Debtor tried to negotiate with

        Logistics in three court mandated mediation sessions. But Logistics just wanted

        their money for licenses for periods in which the programs had not been fully

        implemented and was not willing to negotiate. In early September 2018, after the

        pretrial conference, Debtor’s attorney advised Debtor that the Judge was going to

        deny Debtor the ability to present evidence for reasons unbeknown to Debtor,

        and that the chances of an adverse judgment were extremely high. At that time,

        Debtor decided that its only alternative would be to protect itself against an

        imminent adverse outcome by filing a Chapter 11 Bankruptcy reorganization.

               POST PETITION HISTORY

               14.    Logistics has incurred in the following attacks to Debtor’s

        reorganization process:

                      a.    A motion for relief from stay was filed on October 1, 2018 at
                            Docket Nos. 23 & 25, in order to continue with its district
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                            court case even tough the issue could have been resolved as a
                            contested matter regarding its proof of claim.
                     b.     After the 341 Meeting of Creditors, on October 19, 2019, a
                            burdensome and overly broad request for additional
                            information and/or documents was submitted by Logistics,
                            which even though was beyond the scope of the 341 Meeting,
                            Debtor complied with. See Exhibit A.
                     c.     On December 4, 2018, Logistics filed an objection to the joint
                            stipulation for use of cash collateral that Debtor filed with
                            Oriental Bank. If Debtor is not allowed to use the cash
                            collateral, it will not be able to continue to operate.
                     d.     On February 14, 2019, Logistics filed an application for Rule
                            2004 examinations upon Debtor’s officers and Oriental Bank
                            in another effort to derail Debtor’s reorganization.
                     e.     On March 15, 2019 Logistic submitted its vote rejecting
                            Debtor’s Plan.
                     f.     On March 15, 2019 Logistic filed an objection to Debtor’s
                            disclosure statement.
                     g.     On March 15, 2019 Logistic filed an objection to Debtor’s
                            Plan, including false statements as discussed in the reply to
                            be filed by Debtor.
              15.    Section 1126 (e) of the Bankruptcy Code provides as follows:

                     “On request of a party of interest, and after notice and a hearing,
                     the Court may designate any entity whose acceptance or rejection of
                     such plan was not in good faith, or was not solicited or procured in
                     good faith or in good faith or in accordance with the provisions of
                     this title.”

              16.    Section 1126 (e) grants the bankruptcy court discretion to sanction

        any conduct that taints the voting process wether it violates a specific provision
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        or was made in bad faith. Century Glove, Inc. v. First American Bank of New

        York, 860 F. 2d. 94 (3rd Cir. 1988).

               17.     “Bad faith” is not defined by the Bankruptcy Code. Instead, this

        concept has been defined on a case by case basis. “Bad faith” in the context of

        Section 1126 (e) has been defined as when a creditor attempts to extract or extort

        a personal advantage not available to other creditors in the class, or, when the

        creditor has an ulterior motive, unrelated to its claim or its interests as a creditor.

        In re DBSD North America, Inc., 421 BR 133 (Bkrtcy. SDNY December 21, 2009);

        In re Charles Str. African Methodist Episcopal Church, 480 BR 66 (Bankr. D.

        Mass. 2012).

               18.     The Court in the case of DBSD North America, supra, identified

        several badges of bad faith that may justify disqualification. These include efforts

        to assume control of the Debtor, put the Debtor out of business or otherwise gain

        a competitive advantage and destroy the Debtor out of pure malice

               19.     In this case Logistics's actions prior and after the bankruptcy

        petition, when looked as a whole, reflect that it has tried to put the Debtor out of

        business.

               20.     Logistics is also objecting the confirmation of the plan.          This

        coupled with the fact that it holds a controlling position in the unsecured

        creditors class is essentially an attempt to destroy the Debtor.           See In re:

        MacLeod Company, Inc. 63 BR 654 (Bkrtcy. SD Ohio 1986) and 7-1126 Collier on

        Bankruptcy P 1126.06.
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               21.    7-1126 Collier on Bankruptcy P 1126.06 provides that the Court

        must look for some kind of smoking gun conduct or a fact that in and of itself

        raises question of bad faith without getting into the argumentation as to wether

        the plan is confirmable. Citing In re: Peter Thompson Assoc., inc., 155 BR 20

        (Bkrtcy. DNH 1993)

               22.    As we have stated before, Logistics is a creditor which has a very

        litigious history with the Debtor. Logistics has also showed a retaliatory pattern

        of conduct in this case.

               23.    Debtor understands that the facts of this case show that Logistics's

        vote was made in bad faith and out of revenge against Debtor. It should therefore

        be designated and its vote should be disqualified.

               24.    This issue has a significant impact on confirmation, therefore

        Debtor hereby requests that this motion be heard along with all matters related

        to confirmation on the hearing scheduled for March 26, 2019.

               WHEREFORE, Debtor very respectfully requests that for the above state

        reasons, this Honorable Court designate the vote of Logistics as done in bad faith

        and disqualify this creditor's vote. The Debtor also requests that due to the fact

        that the confirmation hearing is scheduled for March 26, 2019, and this issue has

        a significant impact on confirmation, this motion be heard along with all matters

        related to confirmation during said hearing.

               CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF
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        systems, which will send notification of such filing to the Office of the United

        States Trustee, and all participants of CM/EMF.


              San Juan, Puerto Rico, this 22nd day of March, 2019.


                                                s/ Alexis Fuentes-Hernández, Esq.
                                                Alexis Fuentes-Hernández, Esq.
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